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UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


JUSTIN M. HICKEY,                                 §
                                                  §
                Plaintiff,                        §
                                                  §
versus                                            §           CIVIL ACTION NO. 1:19-CV-538
                                                  §
THE CBE GROUP, INC.,                              §
                                                  §
                Defendant.                        §

                                       FINAL JUDGMENT

         In light of the parties’ failure to submit final settlement papers or move for reinstatement

within ninety (90) days of the court’s Order of Dismissal (#10), signed February 12, 2020, this

action is dismissed with prejudice. Each party shall bear its own costs of court and attorney’s

fees.

         THIS IS A FINAL JUDGMENT.

         SIGNED at Beaumont, Texas, this 13th day of May, 2020.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
